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                      UNITED STATES DISTRICT COURT
 RECEIVED IN PRO SE
                      EASTERN DISTRICT OF NEW YORK
JUNE 6 2023 @ 5:22 PM
    VIA BOX.COM
                       CASE NO.: 1:22-CV-07221-DG-SJB

    JAMES PRICE,
    15081 SW 137 t h Ave
    Miami, Florid a 33177

    SHERRY PRICE,
    243-10 138 t h Ave # 2F
    Rosedale, NY 11422
          Plaintiffs,

    v.

    UNITED STATES PROBATION AND
    PRE-TRIAL SERVICES, EDNY,
          Defendants.
    __________________________________________/

                     PLAINTIFF’S REQUEST MOTION TO STAY
                         PROCEEDINGS FOR SIXTY DAYS

    Dear Judge Bulsara:

           The Plaintiffs in this case, James Price, and Sherry Price, respectfully
    request a sixty-day (60) briefing stay. In regard to Plain tiff James Price, th e
    Bureau of Prisons h as not d emonstrated that it will mak e him readily availab le to
    participate in a sett lement conferen ce with counsel.

          All parties ar e working, mak ing th eir b est attempts to settle th is matter
    without having to litigate . Further more, since Plaintiff James Price will be
    released in 46 days, if we are forced to litigate, we will be able to l itig ate in a
    regular fashion without needing to delay fur ther.

          WHEREFORE, for the reasons listed abov e, the Plaintiffs respectfully ask
    this Court for an Order to Stay for sixty day s.




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Dated: June 6, 2023


                                         Respectfully Submitted,
                                                           Digitally signed by

                                          Sherry Price Sherry Price
                                                       Date: 2023.06.06
                                                           17:22:51 -04'00'

                                         Sherry Price
                                         243-10 13 t h Ave #2F
                                         Rosedale, NY 11422




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